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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 KIALEGEE TRIBAL TOWN                             )
 100 Kialegee Drive                               )
 Wetumka, Oklahoma 74883,                         )
                                                  )
                 Plaintiff,                       )
 v.                                               )
                                                  )
 DAVID L. BERNHARDT,                              )   Civil Action: 1:21-cv-00590
 Secretary                                        )
 United States Department of the Interior         )
 1849 C Street, N.W.                              )
 Washington, DC 20240                             )
                                                  )
 KATUK MAC LEAN SWEENEY,                          )
 Acting Assistant Secretary for Indian Affairs    )
 United States Department of the Interior         )
 1849 C Street, N.W.                              )
 Washington, DC 20240                             )
                                                  )
 UNITED STATES DEPARTMENT OF                      )
 THE INTERIOR                                     )
 1849 C Street, N.W.                              )
 Washington, DC 20240                             )
                                                  )
              Defendants.                         )


                 Plaintiff’s Complaint for Declaratory and Injunctive Relief
                      [Previously Filed under No. 1:17-cv-01670 (CKK)]

                                            Introduction

       1.      Pursuant to Federal Rule of Civil Procedure 15, Plaintiff Kialegee Tribal Town

(hereinafter referred to as “Kialegee”) hereby files its Amended Complaint for Declaratory and

Injunctive Relief.

       2.      The controversy at hand concerns only treaty rights. Defendants claim that:

Kialegee is not a part of the “Whole Creek Nation of Indians,” as defined in Article 4 of the Creek

Treaty of February 14, 1833, (7 Stat. 417), that Kialegee is not a beneficiary of Article 4 of said


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treaty when it refers to “the property of the whole Muskogee or Creek Nation as well as those

residing upon the land” and that does not exercise jurisdiction over its lands. Defendants’ position

is based entirely on the argument that treaties entered into between the United States of America

and the “Whole Creek Nation of Indians” gave jurisdiction over lands only to Muskogee Creeks

and not the “Whole Creek Nation of Indians.” Defendants even consider the lands allotted to

Kialegee members also to be solely under the jurisdiction of the Muskogee Creeks. As a result,

the only and simple question to be determined is whether Kialegee, who are part of the historic

Creek Nation, are included under the treaties signed by the historic Creek Nation. Plaintiff

respectfully submits that history, law and logic overwhelmingly answer in the affirmative.

        3.      Kialegee previously filed Case No. 1:17-cv-01670 (CKK), which was dismissed as

not being ripe for lack of conduct by the Defendants. See “Memorandum Opinion” attached hereto

as Exhibit “F” and made a part hereof. This Court ruled that Kialegee “needs to allege with some

specificity the actions allegedly taken by “Federal Defendants”, which give rise to Plaintiff’s cause

of action.” (Case 1:17-cv-01670-CKK Document 34 Filed 09/07/18 Page 20 of 20). In addition,

Footnote 11 of this Court’s “Memorandum Opinion” states that “Federal Defendants indicate that

“[i]t may be that in the future, after the IBIA issues its final decision on Plaintiff’s challenge to the

Regional Director’s April 26, 2017 decision, Plaintiff will have an action for which it may want to

seek judicial review[.]” Fed. Defs’ Reply at 8.” The United States Department of Interior has now

recently erroneously ruled that the Kialegee “does not exercise jurisdiction over any area of Indian

Country” and rejected a Liquor Control Ordinance to the Bureau of Indian Affairs. See Decision

Attached hereto as Exhibit G and made a part hereof.




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                                              Parties

       4.      Kialegee is an Indian Tribe that is federally-recognized pursuant to the provisions

of the Oklahoma Indian Welfare Act of June 26, 1936, 49 Stat. 1967 (“OIWA”). Plaintiff Kialegee

submits that it, as a federally-recognized Indian Tribe and member of the historic Creek nation,

has jurisdiction over all lands within the Creek Reservation as land owned in common with two

other federally-recognized Creek Tribal Towns and the federally-recognized Muskogee Creek

Nation (“MCN”), in accordance with treaties entered between Kialegee and the United States and

as read in context with the Indian Canon of Construction.

       5.      Sued in his official capacity, David L. Bernhardt is Secretary of the United States

Department of the Interior.

       6.      Sued in his official capacity, Tara Katuk Mac Lean Sweeney is Acting Assistant

Secretary for Indian Affairs, United States Department of the Interior.         The United States

Department of the Interior is an executive department of the government of the United States of

America.

                                           Jurisdiction

       7.      This Court has jurisdiction under 28 U.S.C. §1331 (federal question jurisdiction)

and 28 U.S.C. §1362 (actions brought by tribes) because this action is brought by a federally-

recognized Indian Tribe with a governing body recognized by the Secretary of the Interior and

presents a question arising under federal law (whether Kialegee is included in the treaties).

Jurisdiction is also established based on 25 U.S.C. § 5123, which provides a cause of action against

the government of the United States for promulgating any regulation or making any decision or

determination pursuant to the Act of June 18, 1934 (25 U.S.C. 461 et seq., 48 Stat. 984) as

amended, or any other Act of Congress, with respect to a federally recognized Indian tribe that



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classifies, enhances, or diminishes the privileges and immunities available to the Indian tribe

relative to other federally recognized tribes by virtue of their status as Indian tribes.

                                                Venue

        8.      Venue is proper in this district under 28 U.S.C. §1391(e)(1) because the Defendants

reside and may be found here.

                                         Statement of Facts

                  The Story of The Creek Nation and Kialegee Tribal Town.

        9.      The story of the Creeks and that of the Kialegee are one in the same. Originally,

Muskogee (sometimes spelled Mvskoke) cultural groups (understood as organized groups of

matrilineal clans) occupied a significant portion of southeastern North America. This area

superimposed over today’s drawn political boundaries includes areas of Alabama, Georgia,

Florida, and South Carolina.1 About half the confederacy spoke the Muskogee language, which

thus constituted the ruling language and gave name to the confederacy.

        10.     At the end of the seventeenth century, the Creek speaking people existed as a

confederacy of more than seventy tribal towns. These towns were known as tálwas.2 Kialegee

Tribal Town began as one of the Creek tálwas.

        11.     Tradition holds that tálwas gathered in a town square, around a sacred fire from

which villagers would take coals back to their homes to rekindle their own hearth fires. This ritual

occurred at the end of the Green Corn Ceremony or “Busk” from the word “poskitá” or “to fast.”

This occurred upon the ripening of corn, and was considered a purification ritual.




1
  See Barbara Alice Mann, “A Man of Misery”: Chitto Harjo and the Senate Select Committee on
Oklahoma Statehood, in NATIVE AMERICAN SPEAKERS OF THE EASTERN WOODLANDS: SELECTED
SPEECHES AND CRITICAL ANALYSES 197, 197 (Barbara Alice Mann ed., 2001).
2
  Spelled sometimes as tvlwv, tálwas, etulwa, or etawla.
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       12.     According to oral tradition, the Kialegee are a daughter town of Tuckabatche

(located along rivers in what is now Alabama). The towns of Abika, Coosa, Coweta, and

Tuckabutche are considered the four “mother” towns of the Creek Confederacy as passed down in

Creek oral histories.3

       13.      Oral histories also hold that Kialegee established two additional towns within the

Muscogee-speaking “core” of the Creek Confederacy, Auchenauhatche and Hutchachuppe. 4

Other accounts place Kialegee as descendants of the Tuckabatchee on the Tallapoosa River in

Alabama. Historian Stephen Dow Beckham has noted that Tuckabatchee “spun off Kialegee,

which in turn, was the progenitor of Auchenauhatche and Hitchachuppe.” In light of either view,

it is well-established that Kialegee is an identifiable Creek tribe.

       14.     As a result, Kialegee Tribal Town is long-recognized as being historically Creek

and as a successor to the Creek Nation. See, e.g., Department of the Interior, Bureau of Indian

Affairs, Notice “Indian Tribal Entities that Have a Government-to-Government Relationship with

the United States,” specifically listing “Kialegee Tribal Town of Creek Indians, Oklahoma.”

44 Fed. Reg. 7235 (Jan. 31, 1979); see also Department of the Interior, Bureau of Indian Affairs,

Notice, “Indian Entities Recognized and Eligible To Receive Services From The United States

Bureau of Indian Affairs,” providing a “current list of tribal entities recognized and eligible for

funding and services from the Bureau of Indian Affairs by virtue of their status as Indian tribes”

and including “Kialegee Tribal Town of the Creek Indian Nation of Oklahoma” 60 Fed. Reg.




3
  Theodore and Blue Clark. “Creek (Mvskoke).” Oklahoma Historical Society's Encyclopedia of
Oklahoma            History            and            Culture,          available           at
http://www.okhistory.org/publications/enc/entry.php?entry=cr006 (accessed October 17, 2017).
4
  Moore, John H., “Kialegee Tribal Town.” OKLAHOMA HISTORICAL SOCIETY'S ENCYCLOPEDIA
OF OKLAHOMA HISTORY AND CULTURE, available at
http://www.okhistory.org/publications/enc/entry.php?entry=KI001 (accessed Oct. 17, 2017).
                                                   5
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9250, 9252 (Feb. 16, 1995), see also Department of The Interior, National Park Service, C.F.R.

Vol. 82 No. 105, dated April 3, 2017 (Listing the “[t]en present-day Indian tribes [that] include

Creek descendants” including “Kialegee Tribal Town”).

        15.    Other federally-recognized Muskogee groups include the Alabama-Quassarte

Tribal Town, Kialegee Tribal Town, and Thlopthlocco Tribal Town of Oklahoma, the Coushatta

Tribe of Louisiana, the Alabama-Coushatta Tribe of Texas, and the Poarch Band of Creeks in

Alabama.

        16.    Cultural anthropologist Morris E. Opler, at the request of the United States

Department of the Interior, explained that:5

        It is essential to realize that the Creeks were not and, strictly speaking, are not now,
        a tribe. The Creek Nation is a confederacy of tribes, and as a political phenomenon
        this confederacy stands the most important and advanced of its kind in aboriginal
        America with the possible exception of the Iroquois Confederacy. .

        17.    The Bureau of Indian Affairs has endorsed the same:

        The Creek Nation was a confederacy - an alliance of separate and independent
        tribes that gradually became, over a long period, a single political organization.
        Through most of its history, however, the Confederacy was a dynamic institution,
        constantly changing in size as tribes, for whatever reason, entered the alliance or
        left it. The evidence suggests that many more groups joined than withdrew. . . .

BIA Office of Federal Acknowledgement memorandum recommending federal recognition

of Poarch Band of Creek Indians, at p. 67 (Dec. 29, 1983).

        18.    Indeed, the focal point of all Creek cultural and sociopolitical existence was the

town:

        The leading men of the town assembled everyday in council … Here they made
        decisions involving war and peace, planting and hunting, disputes between citizens,
        the maintenance of order, the punishment of offenders, the care of the public
        building grounds, the ceremonials and amusements. . . .


5
 Morris E. Opler, REPORT ON THE HISTORY AND CONTEMPORARY STATE OF ASPECTS OF CREEK
SOCIAL ORGANIZATION AND GOVERNMENT (1937).
                                                   6
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Angie Debo, The Road to Disappearance; A History of the Creek Indins, 12 (1941).

          19.   As the society and political structure of the Creek Confederacy matured, so too did

that of the newly-formed United States of America. Soon after the ratification of the United States

Constitution in 1788, the United States entered into a treaty with the Creeks on June 29, 1796 (the

“1796 Treaty”) a copy of which is attached hereto as Exhibit “A.” This Treaty was entered into

by “the United States and the said Creek Nation” The signatories to the 1796 Treaty specifically

include the Kialegee, which clearly defines the Kialegee as part of the Creek Nation under said

Treaty:




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        20.      The foregoing reference alone puts to rest any and all arguments made or that could

be made against Kialegee’s existence as part of the Creek Nation. The Kialegee are undisputedly

Creek. Yet, for the sake of absolute certainty on this point, history counsels that the rest of the

story be told.

        21.      Unfortunately, the Treaty of 1796 was overridden by United States’ desire to

acquire new lands. Only a few years later, the institutionalized process of relocating or destroying

all Native Americans in order to acquire and profit from their land was instituted. The Kialegee

were no exception to this program.

        22.      In March 1814 at Horseshoe Bend in Alabama, then-General Andrew Jackson led

a force that killed more than 1,000 Creeks. The Red Stick War, as it is called, officially ended in

August 1814 with the Treaty of Fort Jackson. In this agreement, all Creeks were forced to cede

more than 22 million acres of land in the Southeast United States.

        23.      A full copy of the Treaty of Fort Jackson, whose terms were published as “Treaty

With The Creeks, 1814” and compiled by Charles J. Kappler, LLM, Clerk to the Senate Committee

on in Indian Affairs, in “Indian Affairs. Laws and Treaties, Vol. II,” is attached hereto and labelled

as Exhibit “B.” The Treaty of Fort Jackson, by and between the United States and the Creek

Indians, includes the following two signatories:




        24.      Scholars have documented in clear terms that Kialegee people have historically

been referred to as those of Kialijee, or the Kialijee Creek, which was part of Creek Confederacy

as it existed in Alabama prior to removal. See Hurt, Douglas, “The Shaping of a Creek (Muskogee)

Homeland in Indian Territory, 1828-1907,” Ph.D Dissertation submitted to the graduate faculty of

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the University of Oklahoma Graduate College, 2000, at p. 204 (Referring to the Kialegee as “a

part of the historical Creek Confederacy and the contemporary Nation”); see also id. at 352

(collecting authority showing that Kialegee was part of the Creek Confederacy):




       25.     This is another reference to the Kialegee on the relevant treaties that clearly

supports that the Kialegee are undisputedly Creek and a part of the “whole Creek Nation.”

       26.     After the signing of the Treaty of Fort Jackson in 1814, the Creek people were then

further subjected to a series of land trades, most of which were the product of deceit or outright

fraud. All of these were part and parcel of the United States’ policy to remove Native Americans

from their traditional homelands.

       27.     The policy of forcibly relocating Native peoples became formal law on May 28,

1830, when then-President Jackson signed into law a bill from the Twenty-First Congress titled

the “Indian Removal Act.”

       28.     The United States now-codified push for removal produced the Treaty of 1832, in

which the Creeks ceded their eastern homelands to the United States in exchange for lands in

Indian Territory. 7 Stat. 366 (1832). Among the rights granted to the Creeks by the Removal

Treaty of March 24, 1832 was the right to perpetual self-government of their new lands.

       29.     The Treaty of 1832 required a census of all Creek tálwas. Treaty of 1836, Art. II.

(A census of these persons shall be taken under the direction of the President and the selections

shall be made so as to include the improvements of each person within his selection, if the same


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can be so made, and if not, then all the persons belonging to the same town … .”). The census was

carried out by Thomas J. Abbott and Benjamin S. Parsons during 1832 through 1833. The census,

now known as the “Parsons and Abbott Roll,” identified 166 households of Kialegee alone. The

Parsons and Abbott Roll is seen as an authoritative and comprehensive list of Creek towns prior

to removal.

       30.     In 1836, General Winfield Scott took command of the Georgia and Alabama

militias and forcibly rounded up Creeks and sent them to Indian Territory. This forcible removal

of the Creeks and other tribes, one of the darkest chapters of American history, would come to be

known as the “Trail of Tears.” The 166 Kialegee families identified in the Parsons and Abbott

Roll were among those who trekked to Indian Country of present-day Oklahoma.

       31.     Yet, more sad history, when in 1837 some 4,000 Creeks were moved to

concentration camps in Mobile, Alabama. When Creeks returned from fighting on behalf of the

United States, they found their families in these camps. Soon all the Indians from the camps would

be loaded onto ships and sent to the Indian territory, without regard to whom they supported.

       32.     The United States’ policy of removal ultimately resulted in the forcible relocation

of the Creek, Cherokee, Seminole, Choctaw and Chickasaw tribes to what is presently the state of

Oklahoma. All Creeks, along with the other four “Civilized”6 Tribes, and many other tribes, bore

this horrendous saga of wholesale removal and extermination. The Creek experience in this saga

was collective, i.e., all Creeks were impacted by removal that was addressed by the treaties

regarding said removal.    Moreover, because Kialegee was a signatory to the 1796 Treaty,



6
  The term “Five Civilized Tribes” was used by the United States during the mid-nineteenth
century to refer to the Cherokee, Choctaw, Chickasaw, Creek, and Seminole nations. The usage
of the term “Civilized” in this context is one of disrespect; in this context “civilized” meant a
qualification to exist for entire races based solely on their willingness to adopt norms and values
unilaterally imposed on them by non-native peoples.
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Kialegee’s place as a Creek treaty tribe was established well before the removal period of the

nineteenth century.

       33.     Following removal to Indian Country, the Creek people persisted in survival,

including through the tálwas. Creek tálwas continued their traditional ways within the Creek

Reservation. The United States attempted to suppress the traditional Creek style of government,

but the tálwas remained in place.

       34.     During the Civil War, the Creeks again suffered dearly. It is estimated that more

than one third of all Creeks perished. George Cutler, President Lincoln’s designated Creek Agent,

wrote: “Numbers of families had become separated during the fight with the rebels, of whom many

were captured and taken back … many of them were on foot” and “without shoes, and very thinly

clad, and, having lost nearly all their bedding on the battle-field, their suffering was immense and

beyond description.” Thus war, weather and disease ravaged the Creek Reservation during and

after the Civil War.

       35.     On June 14, 1866, a treaty was signed between the Creeks and the United States.

The Treaty of 1866 was forced upon the Creeks on the pretext that some Creeks engaged in anti-

Union actions during the Civil War. Due to this perceived infraction, the Creeks were forced to

cede a western portion of their reservation:

       [T]he Creeks hereby cede and convey to the United States, to be sold to and used
       as homes for such other civilized Indians as the United States may choose to settle
       thereon, the west half of their entire domain, to be divided by a line running north
       and south; the eastern half of said Creek lands, being retained by them, shall, except
       as herein otherwise stipulated, be forever set apart as a home for said Creek Nation;
       and in consideration of said cession of the west half of their lands, estimated to
       contain three millions two hundred and fifty thousand five hundred and sixty acres,
       the United States agree to pay the sum of thirty (30) cents per acre.

       Treaty of 1866, Art. III.




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       36.    The Treaty of 1866 mandated another census of all Creeks and creation of a General

Council. Treaty of 1866, Art. X. The General Council was to include a representative from each

tálwa. When the census was taken, the results showed a 24% decline of the total number of Creeks

since 1859.

       37.    On October 12, 1867, the Creeks adopted a constitution and a code of laws for the

“Muskogee Nation” (referencing the shared Muskogee language and culture of the Creeks – not

the present Muskogee Nation). The constitution provided for executive, legislative, and judicial

branches, and legislative power was lodged in a National Council, a bi-cameral body in which

specifically acknowledged and provided for the tálwas.

       38.    In 1889, the Bureau of Indian Affairs enumerated 146 members of Kialegee, and in

1895 listed 219.

       39.    Still eager to formally strip the Creeks of all lands, the United States forced the

Creeks to participate in an allotment program via the Curtis Act which became effective in 1898.

Under this program, all land was taken from the entire Creek people, and allotments were given to

tribe members of no more than 160 acres per tract. Kialegee were among those who received

allotments. The allotment process scattered many members of different tálwas (as was intended

by the United States), but Kialegee community and culture persisted. In fact, even today,

Kialegees own various allotments. See Exhibit “C.”

       40.    In his 1937 report, Morris Opler noted: “[i]t was thought that the allotting of the

Creek Indians would destroy their town organization but this did not in fact occur as the members

of the town took allotments in the same locality and continued their social and political

organization.” Opler further wrote:

       But it is clear only that Congress has recognized the Creek Nation alone for the
       purpose of having one central, responsible agency with which to deal. It is not clear

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         that Congress intended to deny the existence of the Creek towns as effective
         organizations.   Their existence is recognized and perpetuated in the
         constitution and laws of the Creek Nation, a fact of which Congress must be
         assumed to have had knowledge and to which it has given sanction in its
         continued dealing with the government of the Nation so constituted as a
         confederacy of towns.

Opler Report at 5 (emphasis added). Here, the Defendants are denying the existence of the

Kialegee Tribal Town, more ugly history that this Complaint seeks to remedy.

         41.    In 1937, Acting Solicitor of the United States Department of Interior Frederic L.

Kirgis, wrote a legal memorandum about recognition of certain tribes under the OIWA:7

         A question has been raised by the Oklahoma Regional Coordinator in charge of
         organization as to whether the Keetoowah Society of Oklahoma Cherokees can be
         considered a band for the purposes of organization under the Oklahoma Indian
         Welfare Act.

                                                  …

         The Creek Tribal Towns, in so far as they have retained a recognized existence,
         were determined to be capable of consideration as bands because they
         possessed the indispensable political character of such bodies. Not only were
         they the functioning political subdivisions of the Creek Confederacy or Nation
         but they were the original independent units of government of the Creek
         Indians. This essential character is not possessed by the Keetoowah Society nor
         any of its factions. It is neither historically nor actually a governing unit of the
         Cherokee Nation, but a society of citizens within the Nation with common beliefs
         and aspirations.



7
    Under the Oklahoma Indian Welfare Act of 1936 (the “OIWA”):

         Any recognized tribe or band of Indians residing in Oklahoma shall have the right to
         organize for its common welfare and to adopt a constitution and bylaws, under such rules
         and regulations as the Secretary of the Interior may prescribe. The Secretary of the Interior
         may issue to any such organized group a charter of incorporation, which shall become
         operative when ratified by a majority vote of the adult members of the organization voting:
         Provided, however, That such election shall be void unless the total vote cast be at least 30
         per centum of those entitled to vote. Such charter may convey to the incorporated group,
         in addition to any powers which may properly be vested in a body corporate under the laws
         of the State of Oklahoma, the right to participate in the revolving credit fund and to enjoy
         any other rights or privileges secured to an organized Indian tribe under the Act of June 18,
         1934.
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       While I have come to the conclusion that the Keetoowah Society of Cherokee
       Indians cannot be considered a band for organization purposes, groups of its
       members might form a basis for cooperative associations under section 4 of the
       Oklahoma act. However, this may not satisfy the groups' wishes as any such
       association could not be limited to members of the society, since associations
       formed under that section must be open to all Indians residing within the district in
       which the association is formed. Another solution which might be considered as an
       administrative matter is the possibility of a society or organized faction or group
       borrowing as a unit from a tribal, cooperative or credit organization for such group
       enterprise as it could successfully carry on. I see no legal objection to such an
       arrangement.

Memorandum from Frederic L. Kirgis to the Commissioner on Indian Affairs, July 29, 1937.

       42.     Based in part on the memorandum from Kirgis and the well-documented history of

Kialegee, Kialegee was federally recognized as a tribe in 1936. Kialegee has a constitution

approved by the Assistant Secretary of the Interior on April 14, 1941, and ratified by the members

of the town on June 12, 1941. Kialegee also has a corporate charter approved by the Assistant

Secretary on July 23, 1942, and ratified by town members on September 17, 1942.

       43.     The approved charter also contains numerous explicit findings concerning

Kialegee’s powers, one of which is “[t]o protect all rights guaranteed to the Kialegee Tribal Town

by treaty.” Kialegee Corporate Charter at p. 5.

       44.     As approved and recognized by the United States Department of Interior:

       Any rights and powers heretofore vested in the Kialegee Tribal Town, not expressly
       referred to in the Constitution, By-laws or Charter of the said Tribal Town, shall
       not be abridged, but may be exercised by the people of the Kialegee Tribal Town,
       through the adoption of appropriate additions and amendments to the Constitution,
       By-laws or Charter of the said Tribal Town. No property rights or claims of the
       Kialegee Tribal Town existing prior to the ratification of this Charter shall be
       in any way impaired by anything contained in this Charter. The Tribal Town
       ownership of unallotted lands, whether or not occupied by any particular
       individuals, is hereby expressly recognized.

Kialegee Corporate Charter at p.6. (emphasis added).

               The Treaties Between the Creek Nation and the United States.



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       45.     Between 1790 and 1866, the Creek Confederacy, as a collection of tálwas, entered

into several treaties with the United States of America (collectively, the “Treaties”). The Treaties

reserved lands to the tálwas and their larger use and subsistence areas held in common with other

Creeks. The Treaties referred collectively to a “Creek Nation,” the “Creek Tribe,” and “the

Creeks,” but did not identify the Treaties as being made with a General Council of a National

Council. These Treaties include:

                       (a) The Creek Treaty of August 7, 1790, (7 Stat. 35) promised in

       Article 5: “The United States solemnly guarantee to the Creek Nation, all their

       lands within the limits of the United States to the westward and southward of the

       boundary described in the preceding article” (emphasis added).

                       (b)    The Creek Treaty of August 9, 1814, (7 Stat. 120) promised

       in Article 2: “The United States will guarantee to the Creek nation, the integrity

       of all their territory eastwardly and northwardly of the said line to be run and

       described as mentioned in the first article” (emphasis added).

                       (c)    The Creek Treaty of January 8, 1821, (7 Stat. 215) promised

       in Article 2: “that the title and possession of the following tracts of land shall

       continue in the Creek nation so long as the present occupants shall remain in the

       personal possession thereof . . .” (emphasis added).

                       (e)    The Creek treaty of March 24, 1832, (7 Stat. 366) stated in

       Article 14: “The Creek country west of the Mississippi shall be solemnly guarantied

       [sic] to the Creek Indians, nor shall any State or Territory ever have a right to pass

       laws for the government of such Indians, but they shall be allowed to govern

       themselves, so far as may be compatible with the general jurisdiction which



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       Congress may think proper to exercise over them . . . as soon as the boundaries of

       the Creek country West of the Mississippi are ascertained, [Congress shall] cause a

       patent or grant to be executed to the Creek tribe” (emphasis added).

                       (f)     The Creek Treaty of February 14, 1833, (7 Stat. 417)

       Preamble, promised: “. . . to establish boundary lines which will secure a country

       and permanent home to the whole Creek nation of Indians . . . .” These words

       made clear that the Creek Reservation in Eastern Oklahoma was to be the

       “permanent home to the whole Creek nation.” (emphasis added).

       46.     The Treaty with the Creeks signed on February 14, 1833, was the first of several

negotiated by the Stokes Commission. The purpose of the Stokes Commission was to define the

boundary between the Creek and Cherokee Nations in the Indian Territory and to affirm the

sovereignty of the Creeks within their reservation.

       47.     In interpreting treaties, courts must look to the plain language of the treaty itself, as

well as the contemporaneous understanding of the parties. The interpretation and implementation

of a treaty in the years following its passage is also relevant. Here, these factors point to a single

conclusion – that the Treaty of 1833 that established the Creek reservation applies to all Creek

Indians. Prior Creek treaties had promised that if they ceded their lands, they would be guaranteed

a permanent home or reservation. The phrases and concepts stated in the 1833 treaty were used in

earlier treaties with the Creeks and were part of their understanding. Through the Treaties, the

leaders of the tálwas gained the assurances that their reservation was permanent, was to be held in

common, and their lands and rights would be protected. The plain language of the Treaty indicates

that the Creek Reservation is the property of all Creek Indians and as such all must be accorded

the same rights, privileges, and benefits of ownership. The Treaty of 1833 states:



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                Preamble: . . . to establish boundary lines which will secure a country and
          permanent home to the whole Creek nation of Indians . . . .

                  Article 3: The United States will grant a patent, in fee simple, to the Creek
          Nation of Indians for the land assigned said nation by this treaty or convention,
          whenever the same shall be ratified by the President and Senate of the United
          States-and the right thus guaranteed by the United States shall be continued to said
          tribe of Indians, so long as they shall exist as a nation, and continue to occupy the
          country hereby assigned to them.

                   Article 4: It is hereby mutually understood and agreed between the parties
          to this treaty, that the land assigned to the Muskogee Indians, by the second article
          thereof, shall be taken and considered the property of the whole Muskogee or Creek
          nation, as well of those now residing upon the land….

          48.     The 1833 treaty (i) defined a precise Creek Reservation within set boundaries; (ii)

guaranteed the reservation as a “permanent home to the whole Creek nation of Indians;” (iii)

promised “a patent in fee simple, to the Creek nation of Indians for the lands assigned to said

nation,” and (iv) affirmed that the permanent reservation was “in lieu of and considered to be the

country provided or intended to be provided by the treaty …on the 24th day of January, 1826 under

which they removed to this country.”

          49.     By its express terms, the Treaty of 1833 establishes that the land assigned to the

Creek Indians “shall be taken and considered the property of the whole Muscogee or Creek Nation,

as well as those now residing upon the land.” “Whole” is an expansive word that means “the entire

thing; the entire or total assemblage of parts.”8 Thus the plain meaning of this Treaty language is

that the reservation belongs to all Creek Indians without exclusion. No legal basis suggests

Kialegee’s treaty rights have been surrendered. Accordingly, the Creek Reservation established

by treaty is also the reservation of the Kialegee and as such Kialegee may exercise jurisdiction

over lands belonging to the Tribe and its members located within the Creek Reservation

boundaries. United States v. Mazurie, 419 U.S. 544, 557 (1975) supports the conclusion that a


8
    Webster, Noah, AMERICAN DICTIONARY OF THE ENGLISH LANGUAGE (1828 ed.).

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tribe would have jurisdiction over land that it occupies as well as land that was allotted to, and is

still owned in trust or restricted fee by its members. Mazurie also supports the conclusion that the

tribe’s jurisdiction would not extend to the trust or restricted allotments of members of the other

tribe with an interest in the reservation. See generally id.; see also Cohen’s Handbook of Federal

Indian Law Section 4.01[2][e], at 220 (Nell Jessup Newton ed., 2012 (“[t]ribal jurisdiction based

in membership finds support in United States v. Mazurie[.]”).

                        The Treaties Are Not Exclusive to the Muskogee.

        50.     Defendants’ position turns on one argument: that the treaties entered into by the

Creeks do not pertain to Kialegee and that the Kialegee have no “treaty rights.” More ugly history

indeed. Solely on this false premise, Defendants conclude that Plaintiff therefore does not properly

exercise “jurisdiction” over its own lands, resulting in the Kialegee not being able to succeed

economically, living below poverty with no healthcare or education.

        51.     The concept of jurisdiction is relevant to the ability of the Kialegee to even have a

tribal court, regulate liquor and tobacco sales and gaming. In an attempt to further eliminate

another Indian tribe, it is Defendants’ position that the treaties render Plaintiff without jurisdiction.

        52.     There is no authority that supports that only the Muskogee can exercise jurisdiction

over treaty lands. No treaty or court opinion has ever held that the Muskogee exercise exclusive

jurisdiction over the lands attained by the Creek Nation at the conclusion of its tragic saga of bait-

and-switch with the government of the United States. History makes clear that the Creek Nation,

as a whole, paid dearly for the relatively small carve-out it ultimately received.              Yet the

Defendants’ position is that the Muskogee Tribe alone exercises jurisdiction over the entirety of

those lands that were explicitly reserved for the “whole Creek Nation.” This simply cannot be.




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The Treaties are black-letter law, and their text indicating that title is transferred to the whole Creek

Nation is clear.

        53.     The Treaties make clear that the jurisdiction over the lands of the former Creek

Reservation is shared. These treaty rights have neither been abrogated nor modified by any

subsequent treaty or act of Congress.

        54.     The controlling canon of construction solidifies this point. Specifically, the Indian

Canon of Construction very clearly establishes (a) that treaties and statutes applicable in this case

are meant to be understood as the Indian signatories understood them at the time, and (b) that

said treaties and statutes should be construed liberally in favor of all Indians and never to their

prejudice. This special canon is stringently observed and upheld, and with good reason. As Chief

Justice John Marshall took specific care to mention in Worcester v. Georgia, 31 U.S. 515, 582

(1832): “The language used in treaties with the Indians should never be construed to their

prejudice.” Justice Harlan F. Stone did the same in Carpenter v. Shaw, 280 U.S. 363, 367(1930)

where he wrote that “[s]uch provisions [of agreements between Indians and the government] are

to be liberally construed. Doubtful expressions are to be resolved in favor of the weak and

defenseless people who are the wards of the nation, dependent upon its protection and good faith.”

        55.     The text of the controlling treaties and the clear guidance on their interpretation

demonstrate that (1) the treaties were signed on behalf of the entire Creek Nation and (2) the Creeks

understood the lands to be owned in common. It is established that the Creeks viewed the

ownership of their lands as being in common, and this view is supported by numerous sources

including contemporaneous, firsthand accounts. For example, Robert L. Owen, an Indian Agent

for the United States who would go on to become one of Oklahoma’s first senators, wrote that:

        The most striking feature in the governments of the Indian nations of this agency,
        when contrasted with that of their white neighbors, is that the title to their entire

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       domain is in the nation as a practically unqualified fee, and the individual has only
       the right to use and to occupy.

Report of Robert Owen to the Commissioner of Indian Affairs, September 20, 1886.

       56.     The following year, 1887, Owen wrote again on Creek ownership, stating that

“[t]he title of the land of the five nations is held in that nation itself, and each citizen has equal

right to make a farm on the unoccupied domain or use the common pasturage.” Report of Robert

Owen to the Commissioner of Indian Affairs, 1887. In 1894, Dew Wisdom, another United States

Indian Agent, located in Muscogee, wrote to the Commissioner of Indian Affairs that “[A]ll land

in this agency is held in common, and only improvements segregated from the public domain are

subject to individual ownership.”

       57.     Kialegee has constructed a restaurant facility known as the Embers Grill – and also

known as Red Creek Dance Hall and Restaurant – which is located on an Indian allotment within

the Creek Reservation. The land happens to be located within the city limits of Broken Arrow,

Oklahoma. The allotment is owned by Bim Stephen Bruner, who is an enrolled member of

Kialegee.

       58.     Kialegee claims jurisdiction over the land on which it is constructing the Embers

Grille, the Bruner allotment, as well as all lands within the Creek Reservation, in common with

the other recognized Creek tribes in Oklahoma. This shared jurisdiction is guaranteed by various

Creek Treaties with the United States read in context with the Indian Canon of Construction.

       59.     The land is located within the boundaries of the Creek Reservation set aside for,

and occupied by, the Creek tribes constituting the former Creek Confederacy that was removed to

Oklahoma by the United States pursuant to treaty provisions.




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                         Defendants’ Argument Is Legally Untenable.

       60.     The Department of the Interior has explicitly stated, in a formal letter to the

Muskogee Area Director of the Okaulgee Agency that:

       Since the Bureau of Indian Affairs has recognized the towns [of Thlopthlocco,
       Kialegee and Alabama-Quassarte] as independent government units, the Okaulgee
       Agency has become a multi-tribal agency. The rights that formerly accrued
       solely to the Creek Nation must now be shared with the towns’ governing
       bodies.

Department of Interior Letter to Muskogee Area Director, attached hereto as Exhibit “D.”

(emphasis added).

       61.     Further, and equally fatal, when the Poarch Band of Creek Indians (the “Poarch

Creeks”) began to conduct gaming operations in Montgomery, Alabama, the National Indian

Gaming Commission (“NIGC”) undertook the legal analysis of whether the Poarch Creek’s lands

qualified for purposes of the Indian Gaming Regulation Act (“IGRA”), 25 USC § 2701 which it

detailed in a May 19, 2008 letter to the Poarch Creeks (the “Poarch Creek Letter”). The Poarch

Creek Letter is illuminating. In it, the NIGC provided a legal analysis concluding that the Poarch

Creek are historically Creek and thus had jurisdiction over the lands they inhabit:

       The United States recognized the Poarch Band of Creek Indians in June 1984. 49
       Fed.Reg. 24083 (June 11, 1984). At the time, the Band had no land base. Shorthly
       after recognition, the Department of the Interior took into trust eight small parcels that
       together total some 229 ½ acres and proclaimed them to be reservation land. 50 Fed.
       Reg. 15502 (Apr. 18, 1985).

       These parcels serve basic tribal functions – a school house, powwow grounds, a tribal
       administration building, a gymnasium, a fire station, two small sites for tribal housing,
       and pasture lands for a tribal farm. Affidavit of Eddie Tullis, ¶ 8 (Mar. 25, 2004).

                                                  …




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                                LEGAL ANALYSIS

I. Indian lands, generally.

IGRA permits gaming only on Indian lands, 25 U.S.C. §§ 2710(b)(1), (2);
2710(d)(1), (2), which defines as:

(A) all lands within the limits of any Indian reservation; and

(B) any lands title to which is either held in trust by United States for the
benefilt of any Indian tribe or individual or held by any Indian tribe or
individual subject to restriction by the United States against alienation and
over which an Indian tribe exercises governmental power.

25 U.S.C. § 2703(4).

                                          …

A. Governmental power

The Band also exercises governmental power over the Tallapoosa Site. This
conclusion, however, is not as straightforward as simply noting that the United States
holds the Site in trust for the Band. In order to exercise governmental power over its
land, the Band, like any other government, must first have jurisdiction to do so.
                                           …

For jurisdictional purposes, there is no distinction between reservation land and trust
land. Again, in Potawatomie, the Supreme Court unambiguously held that trust land
is “validly set apart” and thus qualifies as a reservation for jurisdictional purposes.
Potawatomie, 498 U.S. at. 511 (emphasis added). Accord, John, 437 U.S. at 649.

                                          …

Accordingly, the Band has jurisdiction to exercise governmental authority at the
Tallapoosa Site.

        1. Exercise of governmental authority

In order for the Tallapoosa Site to be “Indian lands” within the meaning of IGRA, the
Band must also exercise present-day, governmental authority on the land. How
exactly a tribe does this IGRA does not say, though there are many possible ways in
many possible circumstances.
                                           …

[T]he Band's police have governmental offices within the Band's gaming facility at
the Site. Letter from William R. Perry, Esq., Sonosky, Chambers, Sachse, Endreson

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& Perry, to Katherine L. Zebell, Esq., NIGC (Nov. 2, 2004). The Band provides law
enforcement on the Site 24 hours a day. The Band is in the process of providing other
governmental services, including additional law enforcement, through an agreement
between the Band and the Montgomery County sheriff. … Further still, the Band has
adopted a Class II gaming ordinance applicable to the Site and has formed a gaming
commission to regulate the Band's Class II gaming operations there.

                                           …

Given the foregoing, then, the Band exercises governmental authority over the
Tallapoosa Site[.]

    A.   The Band has been restored to federal recognition

To be an “Indian tribe that is restored to Federal recognition,” a tribe must demonstrate
a period of recognition by the United States, termination of that recognition, and
reinstatement of recognition by the United States. Grand Traverse III, 369 F.3d at
967. The Band satisfies all three conditions.

Put somewhat differently, the historic Creek Nation has greatly changed in form
from the first half of the 19th century to today. The historic Creek Nation,
politically organized around tribal towns, now exists as the Poarch Band of
Creek Indians in Alabama, the Muskogee (Creek) Nation in Oklahoma, and
recognized tribal towns - tribes with multi-branch governments established
through tribal constitutions. See, e.g., Constitution of the Poarch Band of Creek
Indians, Art, IV (June 1, 1985); Constitution of the Muskogee (Creek) Nation,
Arts. V – VII (Feb. 18, 2006). To suggest that the United States’ recognition of
the historic Creek Nation is not recognition of the Band - or the Muskogee
(Creek) Nation for that matter – because the Band is not identical in form to the
historic Creek Nation is inconsistent with federal Indian policy generally and
with case law.

The federal government’s long-standing policy is to encourage tribal self-
government, and numerous statutes, including IGRA, embody this policy. …
Federal law has thus consistently recognized and protected this right of self-
government. See,e.g., Santa Clara Pueblo v. Martinez, 436 U.S. 49, 55-56. The right
of self-government, of necessity, includes the ability of a tribe to make changes to the
form and structure of its government, and this ability too is recognized in federal law.
See, e.g., 25 C.F.R. Parts 81 and 82 (procedures for Secretarial elections governing
adoption, amendment or revocation of tribal constitutions, etc.).

Any self-governing entity will change in form and composition over time, and this is
particularly true of the lndian tribes, who over the past centuries have also had such
changes thrust upon them by federal law. Significantly, none of these changes in form
or reorganizations are in any way inconsistent with federal recognition.


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       Reflecting federal policies, a congressionally created confederated or
       consolidated tribe can be comprised of different tribes presently occupying the
       same reservation, such as the Wind River Tribes (Shoshone and Arapaho). Or tribes
       may confederate for political purposes, forming governmental entities such as the
       Minnesota Chippewa Tribes or the Central Council of the Tlingit & Haida Indian
       Tribes, which have received federal recognition, in addition to their constituent tribes.
       Under the Indian Reorganization Act of 1934, Indians living on any given reservation
       were allowed to organize into federally recognized tribes, whether or not they were
       linguistically, culturally, or politically united.... Other federally recognized entities
       represent fragments of previously unified peoples. The great Sioux nation, for
       example, was divided by federal law into geographically separated and
       independently recognized tribes in order to weaken the Sioux militarily. Other
       groups, such as the Oneida, the Cherokee, and the Choctaw are recognized as
       multiple separate nations, because some members moved to new territories as
       part of the federal removal process in the nineteenth century and others refused
       to leave ancestral homelands.

       Cohen’s Handbook of Federal Indian Law (“Cohen”), § 302[2] at 137 (2005 ed.). To
       suggest, then, that the recognition of the historic Creek Nation docs not also
       apply to the Band because of the change in form and composition over time is
       inconsistent with the fundamental policy of encouraging tribal self-government.

Poarch Creek Letter, at pp. 1-12 (emphasis added). The Poarch Creek Letter is attached hereto as

Exhibit “E.”

       62.     The Sixth Circuit Court of Appeals positively answered the question of shared

ownership between the Grand Traverse Band and the combined Ottawa and Chippewa nations in

Grand Traverse III, where that Court made no distinction between today’s Grand Traverse Band

and the combined Ottawa and Chippewa nations, whom the United States aggregated solely for

the purposes of negotiating the 1836 Treaty of Washington. 369 F.3d 960, 970-71, n.2 (6th Cir.

2004). The Grand Traverse Band was, as the Court acknowledged, a successor to the Ottawa and

Chippewa as “a successor to a series of treaties with the United States in 1795, 1815, 1836 and

1855.” Id. at 961.

       63.     As a federally-recognized Creek tribe, Kialegee is entitled to exercise all the rights

guaranteed to and understood by Creek Indians by various treaties with the United States. These



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rights are supported by the Creek understanding of the nature of land ownership within the

boundaries of all Creek tribal lands at the time the applicable treaties were negotiated and executed.

At that time, the historic political organization of the Creek Confederacy consisted of tribal towns,

each of which had an equal voice and role in the Creek Confederacy government, and all land was

owned by each tribal entity in common with all the other tribal entities within the Creek

Confederacy. This understanding is directly supported by the applicable canons of interpretation,

as endorsed by the Supreme Court of the United States.

       64.     As the United States Court of Appeals District of Columbia Circuit so thoughtfully

explained in Harjo v. Andrus:

       The Creek Nation, historically and traditionally, is actually a confederacy of
       autonomous tribal towns, or Tálwas, each with its own political organization and
       leadership. Membership in a town is a matter of birthright rather than residence,
       each Creek being, by birth, a member of his mother's town, or, if his mother is non-
       Indian, a member of his father's town. Originally, there were four "mother" towns,
       but the number was expanded by a transfer of town fires, until, by the time of the
       adoption of the 1867 Constitution, there were approximately forty-four Tálwas in
       existence. Tribal towns can also merge or dissolve, and there is at present some
       doubt as to the exact number of towns that are politically and socially active. See
       App. at 164. However, since membership is hereditary and towns may adopt new
       members, no Creek can ever actually be considered to be without tribal town
       affiliation, or the possibility of such affiliation.

581 F.2d 949, n.7 (D.C. Cir. 1978).

       65.     In other words, the historic, accepted and treaty-protected understanding of land

ownership is that all land is owned by and between all Creeks in common. This understanding is

relevant here, because it includes the principle that all Creek tribal entities share an undivided

ownership and jurisdiction of all Creek lands. Yet Defendants disagree. Defendants contend that

there is no multi-tribal jurisdiction over the former reservation lands and argue that the federally-

recognized Muskogee Creek Nation (“MCN”) is the only recognized Creek tribe with any

jurisdiction over those lands. This interpretation is wrong on many levels. At minimum, this

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contention would mean that Kialegee and the other two federally recognized Creek tribal towns in

Oklahoma have no jurisdiction over any lands despite (a) treaty guarantees to the contrary and (b)

allotment ownership of their enrolled members.        Defendants’ rendition of the issue is that

jurisdiction is mutually exclusive. This argument, whether for political or economic reasons or for

a miscomprehension of the law, is wrong.

       66.     The only purported authority that Defendants can argue is the Muskogee (Creek)

Constitution, adopted in 1979, which states that “the political jurisdiction of The Muskogee

(Creek) Nation shall be as it geographically appeared in 1900 which is based upon those Treaties

entered into by the Muskogee (Creek) Nation and the United States of America[.]” This does

nothing to change the fact that Kialegee are Creek and were part of the Treaties. Therefore, such

exclusionary language has no effect because it is clear that the Muskogee were not representative

of all Creek people and the conferral of treaty rights to the Creeks did not vest solely with the

Muskogee.

       67.     The language also has no effect because any exclusionary application of this text is

not supported by law. The United States District Court for the District of Columbia recently

determined this with respect to the constitution of another tribe. In that case, Cherokee Nation v.

Nash, et al., 1:13-cv-01313-TFH (D.D.C. Aug. 30, 2017), the Cherokee Nation attempted to claim

that Cherokee Freedmen, as members of the historic Cherokee nation, should not be fully

recognized as presently-enrolled members, amending its constitution to make this point clear and

relying on sovereignty to justify its decision. The United States District Court for the District of

D.C. rejected this tactic. The opinion rendered in the Cherokee Nation v. Nash is very instructive

on this point: “Although the Cherokee Nation Constitution defines citizenship, Article 9 of the

1866 Treaty guarantees that the Cherokee Freedmen shall have the right to it for as long as native



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Cherokees have that right. The history, negotiations, and practical construction of the 1866 Treaty

suggest no other result.” Cherokee Nation v. Nash, et al., 1:13-cv-01313-TFH (D.D.C. Aug. 30,

2017) (Order denying Cherokee Nation and Principal Chief Baker's Motion for Partial Summary

Judgment).

       68.      This situation is the same. Kialegee, a federally-recognized tribe that is clearly part

of the historic Creek Nation, is subject to yet more dark history as it is denied the protections of

the Treaties. It also bears mentioning that the Cherokee Freedmen were joined in support for their

argument by the United States Department of the Interior. See Cherokee Nation v. Nash, et al.,

1:13-cv-01313-TFH (DE 234) (The Department of the Interior’s Motion for Summary Judgment,

Memorandum of Points and Authorities In Support Thereof and Opposition to the Cherokee Nation

and Principal Chief Baker’s Motion for Partial Summary Judgment).

       69.      Defendants have repeatedly violated 25 U.S.C. §476(f) by blocking the Kialegee

from jurisdiction on lands located within the Creek Reservation.

       70.      As stated supra, 25 USC §476 (f) mandates equal treatment of recognized tribes:

       Departments or agencies of the United States shall not promulgate any regulation or make
       any decision or determination pursuant to the Act of June 18, 1934 (25 U.S.C. 461 et seq.,
       48 Stat. 984) as amended, or any other Act of Congress, with respect to a federally
       recognized Indian tribe that classifies, enhances, or diminishes the privileges and
       immunities available to the Indian tribe relative to other federally recognized tribes by
       virtue of their status as Indian tribes. (bolding added for emphasis)

       71.      Section 476 (f) specifically prohibits the Defendants from finding that the Kialegee

lacks jurisdiction while other tribes have jurisdiction. Kialegee, like the Muskogee Creek Nation,

possess the authority to exercise jurisdiction over its tribal lands.

              Kialegee’s Rights Are Being Violated and Its People Marginalized.

       72.      Perhaps the only thing more tragic than the government-sponsored policy of

elimination endured by Kialegee is the present reality that Kialegee is now being marginalized

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among its own brethren. The present denial of Kialegee’s rights suggests that Kialegee’s fight for

survival during removal times may well have been for naught.

       73.     Despite its federally-recognized status and clear ability to self-govern, Kialegee has

not acceded to the economic prosperity that its Creek brothers and sisters have so enjoyed.

       74.     Kialegee has struggled economically and socially; they have little no healthcare or

education. This is in spite of its unquestioned status as an Indian Tribe. The position asserted

against Kialegee happens to be based on the viewpoint that only the “Muskogee (Creek) Nation”

has jurisdiction over lands in Oklahoma. There is no legal or factual basis for this argument. It is

a backward reading of black-letter law and an attempt to reverse-engineer historical recognition

that was meant for an entire people onto a subgroup that straightforwardly decided to claim this

recognition only for itself. But, as explained herein, this fails under the law and has already been

defeated before this Court.

       75.     Granted, the Muskogee Nation is powerful. Even the Chairman of the NIGC is of

the Muskogee Creek Nation. Kialegee, on the other hand, has no great wealth of capital and

comparatively no influence. Kialegee’s people live a day-to-day struggle for existence. This

struggle for survival occurs despite the many purported protections and guarantees conferred on

Kialegee. Kialegee seeks to engage in economic development of lands located within the

boundaries of the Creek Reservation as part of an effort to provide for its people. This Court is

Kialegee’s only chance.

       76.     It is a “paramount federal policy” to ensure that Indians do not suffer interference

with their efforts to “develop ... strong self-government.” Pueblo of Pojoaque v. New Mexico,

2015 WL 10818855, at *10 (D.N.M. Oct. 7, 2015), aff'd sub nom. New Mexico v. Trujillo, 813

F.3d 1308 (10th Cir. 2016). Plaintiff has chosen to pursue the enforcement of its economic rights



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as a sovereign, which Plaintiff respectfully submits goes to the very heart of “develop[ing] ...

strong self-government.”

         77.   Small in number – Kialegee boasts roughly 400 members – Kialegee resultantly

lacks economic power and political influence wielded by larger Tribes. Because of this deficit, its

right to pursue economic activities is faced by the harsh reality of being out-spent, out-maneuvered

and out-influenced in what amounts to the monopolization by a few Creeks of a right conferred on

all Creeks.

         78.   It is said, that during the time of removal, many of the talwás still maintained their

sacred fire and brought it with them on their long journey. Kialegee has experienced tumult and

terror for more than two centuries, yet it has survived to exist in the present day. Kialegee protected

its sacred fire. But Kialegee has not yet escaped oppression and marginalization – it again faces

the baseless denial of its rights. These rights were hard-fought and conferred unto Kialegee each

time it put pen to paper with the United States.

         79.   Kialegee is now before this Court asking that the law reflect what has already been

written in history: that Kialegee is entitled to full treaty-guaranteed rights as a successor to the

historic Creek Nation, and as a result has jurisdiction over its lands.

                                             COUNT I

         (Declaratory Judgment-Successor in Interest/Land Owned in Common)

         80.   Plaintiff realleges and incorporates by reference paragraphs 1-78 above.

         81.   Plaintiff seeks a declaration that the Plaintiff is entitled to full treaty-guaranteed

rights as a successor to the historic Creek Confederacy, as allowing it the right jurisdiction over its

lands.

         82.   Plaintiff’s request is proper. A declaratory judgment is appropriate when it will

“terminate the controversy” giving rise on undisputed or relatively undisputed facts. Advisory
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Committee Notes, Fed. R. Civ. P. 57. (emphasis added). The existence or non-existence of any

right, duty, power, liability, privilege, disability, or immunity or of any fact upon which such legal

relations depend, or of a status, may be declared. Id. The petitioner must have a practical interest

in the declaration sought and all parties having an interest therein or adversely affected must be

made parties or be cited. Id.

        83.     Plaintiff’s requested relief directly concerns the existence of a right, duty, power

and/or privilege (its treaty-protected status as a successor to the historic Creek Nation, and Plaintiff

has a practical interest in the declaration sought.

                                              COUNT II
                 (Injunction – Successor in Interest/Land owned in Common)

        84.     Plaintiff realleges and incorporates by reference paragraphs 1 through 78 above.

        85.     Kialegee is entitled to an injunction ordering the defendants to recognize that

Plaintiff is entitled to full treaty-guaranteed rights as a successor to the historic Creek Nation, as

allowing it the right jurisdiction over its lands.

                                      REQUESTED RELIEF

WHEREFORE, Plaintiff respectfully requests that the Court enter an order as follows:

        A.      Declaring that Kialegee and its members are a part of the “Whole Creek Nation of

Indians,” as defined in Article 4 of the Creek Treaty of February 14, 1833, (7 Stat. 417),

        B.      Declaring that the Kialegee are a beneficiary of the treaty of 1833 when it refers to

“the property of the whole Muskogee or Creek Nation as well as those residing upon the land,”

        C.      Declaring that Kialegee has treaty-protected rights of shared jurisdiction within the

Creek Reservation and ownership of the Creek Reservation exists in common with all other Creek

tribes tracing to the Creek Confederacy within the State of Oklahoma,



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        D.      Mandatorily enjoining the defendants to recognize the Kialegee’s status as a tribe

for which the Creek Reservation was established which enjoys all full treaty-guaranteed rights by

the Creek treaties relevant to this litigation, and

        E.      Awarding plaintiff its costs, attorneys’ fees, and all other expenses of this litigation.


Date: March 5, 2021                             Respectfully submitted,

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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA




KIALEGEE TRIBAL TOWN,
       Plaintiff
        v.
RYAN K. ZINKE, in his official capacity as Civil Action No. 17-cv-1670 (CKK)
SECRETARY of the DEPARTMENT OF
THE INTERIOR, et al.,
             Defendants.



                                      MEMORANDUM OPINION
                                         (September 7, 2018)


        This suit arises from Plaintiff Kialegee Tribal Town’s request that this Court grant

declaratory and injunctive relief in its favor in connection with its claims that Plaintiff is a

successor to the Creek Nation, and as such, has treaty-protected rights of shared jurisdiction over

land within the boundaries of the historic Creek Nation reservation. Pending before this Court is

Federal Defendants’ Motion to Dismiss Plaintiff’s Amended Complaint, brought by Ryan K.

Zinke, in his official capacity as Secretary of the United States Department of the Interior; John

Tahsuda, III, in his official capacity as Acting Assistant Secretary for Indian Affairs; and the

United States Department of the Interior (“Interior”) (collectively, the “Federal Defendants”).

Federal Defendants have moved to dismiss Plaintiff’s Amended Complaint pursuant to Federal

Rules of Civil Procedure Rule 12(b)(1), for lack of subject matter jurisdiction, and Rule 12(b)(6),

for failure to state a claim.




                                                1
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           After reviewing the parties’ submissions, 1 relevant case law and applicable statutory

    authority, the Court GRANTS Defendants’ Motion to Dismiss on grounds that Plaintiff’s

    Amended Complaint fails to state a claim. A separate Order accompanies this Memorandum

    Opinio n.

                        I.      FACTUAL AND PROCEDURAL BACKGROUND

           A. History of the Creek Nation and Kialegee Trial Town

           Plaintiff Kialegee Tribal Town (“Plaintiff” or “Kialegee”) is “an Indian Tribe that is

    federally-recognized pursuant to the provisions of the Oklahoma Indian Welfare Act of June 26,

    1936, 49 Stat. 1967.” Am. Compl., ECF No. 27, ¶ 3.2 This case centers on the issue of whether

    Plaintiff, a member of the historic Creek [N]ation, is included under the treaties signed by the

    historic Creek Nation. Plaintiff’s position is that, “as a federally-recognized Indian Tribe and

    member of the historic Creek Nation, [it] has jurisdiction over all lands within the Creek

    Reservation as land owned in common with two other federally-recognized Creek Tribal Towns

    and the federally recognized Muskogee Creek Nation (“MCN”) in accordance with treaties

    entered into between Kialegee and the United States and as read in context with the Indian Canon

    of Construction.” Id. Defendant’s position is that, “since the removal of the Creeks in 1832 to

    what is now Oklahoma, federal treaties and federal legislation pertaining to the Creek Reservation



1
    The Court’s consideration focused on the following documents:
      • Fed. Defs.’ Mot. to Dismiss Pl.’s Am. Compl. (“Fed. Defs.’ Mot.”), ECF No. 28, and the
         Mem. of Points and Auth. in support thereof (“Fed. Defs.’ Mem.”), ECF No. 28-1
      • Pl.’s Opp’n to Fed. Defs.’ Mot. to Dismiss (“Pl.’s Opp’n”), ECF No. 30
      • Fed. Defs.’ Reply in Support of Mot. to Dismiss (“Fed. Defs.’ Reply”), ECF No. 31.

    In an exercise of discretion, the Court finds that holding oral argument in this action would
not be of assistance in rendering a decision. See LCvR 7(f).
2
    While much of the historical background in this Memorandum Opinion derives from the
Plaintiff’s Amended Complaint, the Court has also referenced legislation and caselaw.
                                                   2
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    in Oklahoma have been exclusively with the Muscogee (Creek) Nation, not the tribal towns.”

    Fed. Defs.’ Mem. at 8. 3

           To put this argument in historic context, the Court looks briefly at the history of the Creek

    Nation. The Creek Nation, “historically and traditionally, is actually a confederacy of

    autonomous tribal towns, or Talwa, each with its own political organization and leadership.”

    Harjo v. Andrus, 581 F.2d 949, 951 n.7 (D.C. Cir. 1978). “Between 1790 and 1866, the Creek

    Confederacy, as a collection of talwas, entered into several treaties with the United States[,]” and

    those treaties, which “collectively referred to a ‘Creek Nation’, the ‘Creek Tribe’ and ‘the

    Creeks’” reserved lands to the “talwas and their larger use and subsistence areas held in common

    with other Creeks.” Am. Compl. ¶ 44. 4

           After the ratification of the United States Constitution in 1788, the United States entered

    into a treaty with the Creeks on June 29, 1796 (the “1796 Treaty”), and one of the signatories to

    the 1796 Treaty is the Kialegee. See Am. Compl., Ex. A [1796 Treaty]. In March 1814, General

    Andrew Jackson led a force that killed more than 1,000 Creeks in Alabama during the Red Stick

    War, and that controversy was concluded by the Treaty of Fort Jackson (also known as the

    “Treaty With The Creeks, 1814”), which involved the Creeks’ ceding 22 million acres of land in

    the Southeast United States to the United States. Am. Compl. ¶¶ 21-22; see also Am. Compl.

    Ex. B [Treaty With The Creeks, 1814]. Two signatories to the Treaty of Fort Jackson are

    identified as “Kialijee,” designating the Kialegee people from the Kialijee Creek, “which was



3
  The page numbers cited herein reference the page numbers assigned by the Court’s Electronic
Case Filing (“ECF”) system.
4
  Plaintiff references: (1) The Creek Treaty of August 7, 1790; (2) The Creek Treaty of August 9,
1814; (3) The Creek Treaty of January 8, 1821; (4) The Creek Treaty of March 24, 1832; and (5)
The Creek Treaty of February 14, 1833. Some of these treaties are discussed in more detail in
this Memorandum Opinion.
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    part of the Creek Confederacy as it existed in Alabama prior to removal.” Am. Compl. ¶¶ 22-23.

           “In the 1820’s, the federal government adopted a policy to forcibly remove the Five

    Civilized Tribes [which included the Creek Nation] from the southeastern United States and

    relocate them west of the Mississippi River, in what is today Oklahoma.” 5 Indian Country,

    U.S.A., Inc. v. State of Oklahoma, 829 F.2d 967, 971 (10th Cir. 1987) (citation omitted); see Am.

    Compl. Paragraphs 25-27. This policy became formal law on May 28, 1830, when then-President

    Andrew Jackson signed into law the “Indian Removal Act.” Am. Compl. ¶ 26. This policy of

    removal “ultimately resulted in the forcible relocation of the Creek, Cherokee, Seminole,

    Choctaw and Chickasaw tribes to what is presently the state of Oklahoma.” Am. Compl. ¶ 31.

    Plaintiff claims that Kialegee’s “place as a Creek treaty tribe was established well before [this]

    removal period” because it was “a signatory to the 1796 Treaty.” Id.

           By means of the Treaty With The Creeks, 1832 (“Treaty of 1832”), the Creeks ceded their

    homelands in the eastern United States in exchange for lands in the western United States. See 7

    Stat. 366 (1832) (stating that “The Creek country west of the Mississippi shall be solemnly

    guarantied [sic] to the Creek Indians[.]”) (art. 14); Am. Compl. ¶ 27. The Creek Treaty of

    February 14, 1833, between the Creeks and the United States, was supposed to “establish

    boundary lines which [would] secure a country and permanent home to the whole Creek nation

    of Indians[.]” Am. Compl. ¶ 44(f) (emphasis omitted). By its terms, the Treaty of 1833

    establishes that land assigned to the Creek Indians “shall be taken and considered the property of




5
 Plaintiff notes that “[t]he term “Five Civilized Tribes” was used by the United States during the
mid-nineteenth century to refer to the Cherokee, Choctaw, Chickasaw, Creek, and Seminole
nations,” but the word “Civilized” was disrespectful because it “meant a qualification to exist for
entire races based solely on their willingness to adopt norms and values unilaterally imposed on
them by non-native peoples.” Am. Compl. at 10, n. 6.
                                                   4
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the whole Muscogee or Creek Nation, as well as those now residing upon the land.” Am. Compl

Paragraph 48. On June 14, 1866, a treaty was signed between the Creeks and the United States

whereby the Creeks were to cede a western portion of their territory to the United States for

payment in a certain amount. Am. Compl. ¶ 34 (citing Treaty of 1866, Art. III).

       On October 12, 1867, the Creeks adopted a constitution and a code of laws for the

“Muskogee Nation” (which differs from the present Muskogee Nation). Am. Compl. ¶ 36. “In

1893, Congress created the Dawes Commission to negotiate with the Five Civilized Tribes” to

extinguish tribal land title and develop an allotment plan.” Indian Country, 829 F.2d at 977

(citation omitted). In 1898, Congress enacted the Curtis Act, whereby “all land was taken from

the entire Creek people, and allotments were given to tribe members of no more than 160 acres

per tract.” Am. Compl. ¶ 38.

       B. The Kialegee Tribal Town

       In 1934, Congress passed the Indian Reorganization Act (“IRA”) of 1934, ch. 576, 48

Stat. 984 (codified as amended at 25 U.S.C. §§ 5101, et seq.), which was “designed to improve

the economic status of Indians by ending the alienation of tribal land and facilitating tribes’

acquisition of additional acreage and repurchase of former tribal domains.” Fed. Defs.’ Mem. at

11 (citing Cohen’s Handbook of Federal Indian Law, Section 1.05 at 81 (Nell Jessup ed., 2012)).

That Act provided for tribal self-government pursuant to tribally adopted constitutions. 25 U.S.C.

§ 5123. Pursuant to Section 5108, the Secretary of the Interior was authorized “to acquire . . .

any interest in lands . . . for the purpose of providing land for Indians.” 25 U.S.C. § 5108; Match-

E-Be-Nash-She Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 226 (2012)

(recognizing that “[l]and forms the basis of [tribal] economic life, providing the foundation for

tourism, manufacturing, mining, logging, . . . and gaming”) (internal quotation marks and

                                                5
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citations omitted)). Certain sections of the IRA are inapplicable to tribes in Oklahoma. See 25

U.S.C. § 5118.

      In 1936, Congress passed the Oklahoma Indian Welfare Act of 1936 (“OIWA”), which

allowed “any recognized tribe or band of Indians residing in Oklahoma . . . . to organize for its

common welfare and to adopt a constitution and bylaws, under such rules and regulations as the

Secretary of the Interior may prescribe.” Am. Compl. ¶ 40, n. 7. Plaintiff Kialegee is a federally

recognized Indian tribe, organized under Section 3 of the OIWA, which first received federal

recognition in 1936, and is governed in accordance with a constitution and bylaws that were

approved by the Assistant Secretary of the Interior, on April 14, 1941, and ratified by the town

members on June 12, 1941. Am. Compl. ¶ 41; see Oklahoma v. Hobia, 775 F.3d 1204, 1205

(10th Cir. 2014), cert den., 136 S. Ct. 33 (2015). Kialegee also has a corporate charter that was

approved by the Assistant Secretary of the Interior on July 23, 1942, and ratified by town

members on September 17, 1942, which states that “[n]o property rights or claims of the Kialegee

Tribal Town existing prior to the ratification of this Charter shall be in any way impaired by

anything contained in this Charter [and further,] [t] the Tribal Town ownership of unallotted

lands, whether or not occupied by any particular individuals, is hereby expressly recognized.”

Am. Compl. ¶¶ 41, 43 (referencing the Kialegee Corporate Charter at 6) (emphasis omitted).

     C. The Lawsuit

      Plaintiff filed its initial Complaint on August 17, 2017, against the Federal Defendants

and the Chairman of the National Indian Gaming Commission (“NIGC”). Plaintiff sought a

declaratory judgment that it exercises concurrent jurisdiction over the Creek Reservation in

Oklahoma with all Creek tribes, and an injunction that all lands within the Creek Reservation are

Plaintiff’s “Indian lands” for purposes of the Indian Gaming Regulatory Act (“IGRA”). Compl.,

                                               6
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    ECF No. 1, ¶¶ 38, 40, 42, 44. More specifically, Plaintiff referred to the construction of a

    restaurant facility known as the Red Creek Dance Hall and Restaurant, located on an Indian

    allotment within the Creek Reservation in Broken Arrow, Oklahoma, where the allotment was

    owned by Bim Stephen Bruner, an enrolled member of Kialegee (the “Bruner Allotment”).

    Compl., ECF No. 1, ¶ 8. Plaintiff indicated further that “Defendant [had] publicly declared their

    intention to take administrative and legal steps to oppose the Kialegee development of the Bruner

    allotment.” Compl., ECF No. 1, ¶ 17.

          In its Amended Complaint, for which a motion to amend was filed, unopposed, and leave

    to file was granted, Plaintiff deliberately removed the Chairman of the NIGC as a defendant and

    deleted several of the specific references to the Bruner allotment, seeming to focus instead on a

    more general request that this Court enforce Plaintiff’s “rights” under historical treaties. 6

    Plaintiff alleges that because Kialegee is a signatory to the Treaty of 1833 establishing the Creek

    Reservation, the Creek Reservation is also considered Plaintiff’s Reservation and accordingly,

    Kialegee may exercise jurisdiction over lands within the boundaries of the historic Creek

    Reservation. Am. Compl., ECF No. 27, ¶¶ 2, 46-48, 56. Plaintiff alleges further that the

    “[Federal] Defendants’ position is that the Muskogee Tribe alone exercises jurisdiction over the

    entirety of those lands that were explicitly reserved for the ‘whole Creek Nation,’” Am. Compl.

    ¶¶ 51 (emphasis omitted), 64-65, and Defendants have “repeatedly violated 25 U.S.C. §[5123](f)

    by blocking [Plaintiff] from jurisdiction on lands located within the Creek Reservation.” Am.



6
 Plaintiff’s Complaint, dated August 17, 2017, initially focused more specifically on
Defendants’ opposition to the development of the Bruner allotment and Plaintiff’s jurisdiction
over that land, but because that issue was the subject of an April 26, 2017 decision by the Bureau
of Indian Affairs, which was appealed to the IBIA, and Plaintiff had not exhausted its
administrative remedies, Plaintiff shifted the focus in its Amended Complaint to an alleged
general violation of its rights under various treaties.
                                                    7
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    Compl. ¶ 68. 7 In the instant case, Kialegee mentions its construction of a restaurant facility

    located on an Indian allotment within the Creek Reservation (the aforementioned “Bruner

    allotment”), and Kialegee claims jurisdiction over the land on which it is constructing the

    restaurant facility as well as all lands within the Creek Reservation, in common with other

    recognized Creek tribes in Oklahoma, based upon “various Creek Treaties with the United States

    read in context with the Indian Canon of Construction.“ Am. Compl. ¶¶ 56-57.

                                         II. LEGAL STANDARD

          A. Subject Matter Jurisdiction under Rule 12(b)(1)

          A court must dismiss a case pursuant to Federal Rule 12(b)(1) when it lacks subject matter

    jurisdiction. In determining whether there is jurisdiction, the Court may “consider the complaint

    supplemented by undisputed facts evidenced in the record, or the complaint supplemented by

    undisputed facts plus the court’s resolution of disputed facts.” Coalition for Underground

    Expansion v. Mineta, 333 F.3d 193, 198 (D.C. Cir. 2003) (citations omitted); see also Jerome

    Stevens Pharm., Inc. v. Food & Drug Admin., 402 F.3d 1249, 1253 (D.C. Cir. 2005) (“[T]he

    district court may consider materials outside the pleadings in deciding whether to grant a motion

    to dismiss for lack of jurisdiction.”)

          In reviewing a motion to dismiss pursuant to Rule 12(b)(1), courts must accept as true all



7
  Plaintiff references 25 U.S.C. Section 476(f) in the Amended Complaint, but that section was
transferred to 25 U.S.C. Section 5123(f).

          Departments or agencies of the United States shall not promulgate any regulation or
          make any decision or determination pursuant to the Act of June 18, 1934 . . ., or any other
          Act of Congress, with respect to a federally recognized Indian tribe that classifies,
          enhances, or diminishes the privileges and immunities available to the Indian tribe
          relative to other federally recognized tribes by virtue of their status as Indian tribes.

25 U.S.C. Section 5123(f).
                                                   8
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factual allegations in the complaint and construe the complaint liberally, granting plaintiff the

benefit of all inferences that can be drawn from the facts alleged. See Leatherman v. Tarrant Cty.

Narcotics Intelligence & Coordination Unit, 507 U.S. 163, 164 (1993); Koutny v. Martin, 530 F.

Supp. 2d 84, 87 (D.D.C. 2007) (“[A] court accepts as true all of the factual allegations contained

in the complaint and may also consider ‘undisputed facts evidenced in the record’”) (internal

citations omitted). Despite the favorable inferences that a plaintiff receives on a motion to

dismiss, it remains the plaintiff’s burden to prove subject matter jurisdiction by a preponderance

of the evidence. Am. Farm Bureau v. Envtl. Prot. Agency, 121 F. Supp. 2d 84, 90 (D.D.C. 2000).

“Although a court must accept as true all factual allegations contained in the complaint when

reviewing a motion to dismiss pursuant to Rule 12(b)(1), [a] plaintiff[‘s] factual allegations in

the complaint. . . will bear closer scrutiny in resolving a 12(b)(1) motion than in resolving a

12(b)(6) motion for failure to state a claim.” Wright v. Foreign Serv. Grievance Bd., 503 F. Supp.

2d 163, 170 (D.D.C. 2007) (internal citations and quotation marks omitted). A court need not

accept as true “a legal conclusion couched as a factual allegation” or an inference “unsupported

by the facts set out in the complaint.” Trudeau v. Fed. Trade Comm’n, 456 F.3d 178, 193 (D.C.

Cir. 2006) (quoting Papasam v. Allain, 478 U.S. 265, 286 (1986)).

      B. Failure to State a Claim under Rule 12(b)(6)

      Pursuant to Rule 12(b)(6), a party may move to dismiss a complaint on grounds that it

“fail[s] to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). A complaint

is not sufficient if it “tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

557 (2007)). To survive a motion to dismiss under Rule 12(b)(6), a complaint must contain

sufficient factual allegations that, if accepted as true, “state a claim to relief that is plausible on

                                                  9
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 its face.” Twombly, 550 U.S. at 570. “A claim has facial plausibility when the plaintiff pleads

 factual content that allows the court to draw the reasonable inference that the defendant is liable

 for the misconduct alleged.” Iqbal, 556 U.S. at 678. “In evaluating a motion to dismiss, the

 Court must accept the factual allegations in the complaint as true and draw all reasonable

 inferences in favor of plaintiff.” Nat’l Postal Prof’l Nurses v. U.S. Postal Serv., 461 F. Supp. 2d

 24, 27 (D.D.C. 2006).

       When considering a Rule 12(b)(6) motion, courts may consider “the facts alleged in the

 complaint, documents attached as exhibits or incorporated by reference in the complaint” or

 “documents upon which the plaintiff’s complaint necessarily relies even if the document is

 produced not by the plaintiff in the complaint but by the defendant in a motion to dismiss.” Ward

 v. District of Columbia Dep’t of Youth Rehab. Servs., 768 F. Supp. 2d 117, 119 (D.D.C. 2011)

 (internal quotation marks and citations omitted). The court may also consider documents in the

 public record of which the court may take judicial notice. Abhe & Svoboda, Inc. v. Chao, 508

 F.3d 1052, 1059 (D.C. Cir. 2007).

                                          III. ANALYSIS

       When bringing a lawsuit against the United States, a plaintiff must identify: (1) a source of

subject matter jurisdiction; (2) a waiver of sovereign immunity; and (3) a cause of action. United

American, Inc. v. N.B.C.-U.S.A. Housing, Inc. Twenty-Seven, 400 F. Supp. 2d 59, 61 (D.D.C.

2005); see also Am. Rd. & Transp. Builders Ass’n v. Envtl. Prot. Agency, 865 F. Supp. 2d 73, 80

(D.D.C. 2012), (where the court noted with appr oval the Government’s argument that neither

statute relied upon by the plaintiff waived sovereign immunity nor provided a cause of action, and

indicated further that the plaintiff needed to identify a source of jurisdiction), aff’d per curiam,

2013 WL 599474 (D.C. Cir. Jan. 28, 2013)

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       A. Subject Matter Jurisdiction

       There is no disagreement among the parties in this case that Plaintiff relies upon 28 § 1331,

 the federal question jurisdictional statute, and 28 U.S.C. § 1362, governing actions brought by

 tribes, to provide a source for this Court’s subject matter jurisdiction. Am. Compl. ¶ 6. Pursuant

 to 28 U.S.C. § 1362, district courts are granted “original jurisdiction of all civil actions, brought

 by any Indian tribe or band with a government body duly recognized by the Secretary to the

 Interior, wherein the matter in controversy arises under the Constitution, laws or treaties of the

 United States.” 28 U.S.C. §1362.

       Plaintiff relies further on 25 U.S.C. § 5123 of the IRA as a source for subject matter

jurisdiction. Am. Compl. ¶ 6; see 25 U.S.C. Section 5123(d)(2) (“Actions to enforce the

provisions of this section may be brought in the appropriate Federal district court.) This Court

notes however that “[t]he Act merely provides the authority and procedures whereby an Indian

tribe may organize itself and adopt a tribal constitution and bylaws, [and it] makes no mention of

jurisdiction in any sense and such is not within its purview.” Twin Cities Chippewa Tribal

Council v. Minnesota Chippewa Tribe, 370 F.2d 529 (8th Cir. 1967).

       Accordingly, Plaintiff has established a source for this Court’s subject matter jurisdiction,

pursuant to 28 U.S.C. Sections 1131 and 1362, which is uncontested by the Federal Defendants.

The Court now turns to the issue of Federal Defendants’ immunity from suit and whether

Plaintiff has demonstrated a basis for waiving that immunity.

        B. Waiver of Sovereign Immunity

        There is no dispute that the United States is immune from suit unless it consents to be

 sued. United States v. Sherwood, 312 U.S. 584, 586 (1941). Nor is there any dispute that, in

 suits against the government, a court must consider first, whether Congress provided an


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affirmative grant of subject matter jurisdiction, and second, whether Congress waived the United

States’ immunity to being sued. Yee v. Jewell, 228 F. Supp. 3d 48, 53 (D.D.C. 2017). In its

Opposition to Federal Defendants’ Motion, Plaintiff acknowledges that “§ 5123, § 1331 and §

1362 have been determined not to waive sovereign immunity on their own.” Pl.’s Opp’n at 14;

see Mackinac Tribe v. Jewell, 87 F. Supp. 3d 127, 139 (D.D.C. 2015) (“[T]he IRA does not itself

contain language that amounts to a waiver of sovereign immunity.”), aff’d, 829 F.3d 754 (D.C.

Cir. 2016), cert denied, 137 S. Ct. 638 (2017). Accordingly, in the absence of an express

sovereign immunity waiver, Kialegee “must look beyond [its] jurisdictional statute[s] for a

waiver of sovereign immunity with respect to [its] claim.” United States v. Mitchell, 445 U.S.

535, 538 (1980).

      Although Plaintiff affirmatively states that its cause of action is not based upon the

Administrative Procedure Act (the “APA”), Plaintiff relies upon Section 702 of the APA to

support a waiver of sovereign immunity. That Section provides that:

      A person suffering legal wrong because of agency action, or adversely affected or
      aggrieved by agency action within the meaning of a relevant statute, is entitled to judicial
      review thereof. An action in a court of the United States seeking relief other than money
      damages and stating a claim that an agency or an officer or employee thereof acted or failed
      to act in an official capacity or under color of legal authority shall not be dismissed nor
      relief therein be denied on the ground that it is against the United States or that the United
      States is an indispensable party. The United States may be named as a defendant in any
      such action, and a judgment or decree may be entered against the United States:
      Provided, That any mandatory or injunctive decree shall specify the Federal officer or
      officers (by name or by title), and their successors in office, personally responsible for
      compliance. Nothing herein (1) affects other limitations on judicial review or the power or
      duty of the court to dismiss any action or deny relief on any other appropriate legal or
      equitable ground; or (2) confers authority to grant relief if any other statute that grants
      consent to suit expressly or impliedly forbids the relief which is sought.

5 U.S.C. Section 702 (emphasis added). Kialegee contends that because it seeks declaratory and

injunctive relief, as opposed to monetary damages, it may rely upon the APA for a waiver of

sovereign immunity. See Bowen v. Massachusetts, 487 U.S. 879, 893 (1988) (stating that “insofar

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as the complaints sought declaratory and injunctive relief, they were certainly not actions for

money damages”); McKoy v. Spencer, 271 F. Supp. 3d 25, 32 (D.D.C. 2017) (Kollar-Kotelly, J.)

(finding that section 702 of the APA waived sovereign immunity as to plaintiff’s claims for

declaratory and injunctive relief). Nor does Kialegee need to allege the APA as a cause of action

to benefit from waiver under Section 702. Jack’s Canoes & Kayaks v. Natl. Park Serv., 937 F.

Supp. 2d 18, 35 (D.D.C. 2013) (citing Trudeau v. Federal Trade Comm’n, 456 F.3d 178, 186

(D.C. Cir. 2006)); see also McKoy, 271 F. Supp. 3d at 32 (to benefit from an APA waiver of

sovereign immunity, a plaintiff need not even mention the APA in its complaint, but instead “[i]t

is sufficient that Plaintiff correctly argued that the APA provides the requisite waiver of immunity

in [its] opposition to Defendant’s motion to dismiss.”)

         Federal Defendants concede that “a suit need not have been brought pursuant to the APA

to receive the benefit of that statute’s sovereign immunity waiver; indeed, the ‘APA’s waiver of

sovereign immunity applies to any suit whether under the APA or not.’” Z Street, Inc. v.

Koskinen, 44 F. Supp. 3d 48, 64 (D.D.C. 2014) (quoting Chamber of Commerce v. Reich, 74 F.

3d 1322, 1328 (D.C. Cir. 1996) (emphasis omitted)), aff’d, 791 F.3d 24 (D.C. Cir. 2015).

Federal Defendants contest however whether Kialegee has fulfilled the requirement of Section

702 in terms of stating a claim that “an agency or an officer or employee thereof acted or failed

to act in an official capacity or under color of legal authority.” Fed. Defs’ Mem. at 17-18 (citing

Section 702); see Mackinac Tribe, 87 F. Supp. 3d at 142 (noting that a Section 702 waiver applies

when the two requirements therein — an agency, officer or employee acts or fails to act in an

official capacity or under color of authority, and the relief sought is in a form other than money

damages — have been met).

      Federal Defendants interpret Section 702 as requiring a “final agency action,” but the

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Mackinac Tribe case makes it clear that a “final agency action” is not required. In that case,

“although Defendant argue[d] that Plaintiff need[ed] to fulfill an additional requirement in order

to be able to rely on the APA’s sovereign immunity waiver — namely, that the agency action that

Plaintiff s[ought] to challenge must be a “final” agency action . . . [the Court found that] the D.C.

Circuit rejected this very argument in Trudeau v. Federal Trade Comm’n, 456 F.3d 178 (D.C.

Cir. 2006).” Mackinac, 87 F. Supp. 3d at 142-3 (internal citations and quotation marks omitted).

Plaintiff cites Trudeau for the proposition that “even though what plaintiff had complained of

was not even “agency action” at all as defined in the APA, let alone “final,” it made no difference”

because two of the plaintiff’s causes of action therein did not involve judicial review under the

APA. Pl.’s Opp’n at 16; see Trudeau, 456 F. 3d at 187. In Trudeau, the Court of Appeals

concluded that there was jurisdiction pursuant to 28 U.S.C. Section 1331, and a waiver of

sovereign immunity pursuant to Section 702 of the APA because the plaintiff sought a declaratory

judgment and injunction, and he stated a claim based on an FTC press release. Id. at 185-87.

      Federal Defendants challenge whether Plaintiff has “stat[ed] a claim” regarding any

specific agency action or inaction, which is sufficient to comply with Section 702. Federal

Defendants argue that “[a]lthough Plaintiff asserts that Federal Defendants have not recognized

it as part of the “whole Creek Nation,” Am. Compl. ¶ 2, Plaintiff fails to cite to any discrete [ ]

decision made by Federal Defendants. [and] instead cites to positions it believes Federal

Defendants will take or arguments Federal Defendants may assert.” Fed. Defs.’ Mem. at 20; see

Am. Comp. ¶¶ 19, 39, 49, 50, 51, 64, 65, 68, 73. Plaintiff asserts however that “Kialegee [ ]

“need not identify any “agency” action or inaction, as made clear under Trudeau.” Pl.’s Opp’n

at 18. (emphasis added). In Trudeau, the Court of Appeals noted that “[w]hile the [second]

sentence [of Section 702] does refer to a claim against an “agency” and hence waives immunity

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only when the defendant falls within that category, it does not use either the term “final agency

action” or the term “agency action.”” 456 F.3d at 187. Accordingly, this Court’s interpretation

of Trudeau does require that Plaintiff state a claim that an agency or an officer or employee

thereof acted or failed to act in an official capacity or under color of legal authority. See, e.g.,

Mackinac Tribe v. Jewell, 87 F. Supp. at 143, finding that:

      To the extent that Plaintiff Mackinac Tribe is here seeking to proceed under the IRA, it is
      sufficient that its complaint alleges that the agency has failed to act where the law provides
      it must, and Plaintiff need not identify a final agency action in order to avail itself of APA’s
      sovereign immunity waiver, despite Defendant’s assertions to the contrary. The Court is
      mindful, however, that “other limitations on judicial review or the power or duty of the
      court to dismiss any action or deny any relief on any other appropriate legal or equitable
      ground” may nevertheless preclude this action. 5 U.S.C. § 702.


      Assuming arguendo that Kialegee’s claim in Paragraph 68 of its Amended Complaint that

Federal Defendants have “repeatedly violated 25 U.S.C. § [5123](f) by blocking the Kialegee

from jurisdiction on lands located within the Creek Reservation” is enough to satisfy “stating a

claim” for purposes of applying Section 702 to effect a waiver of sovereign immunity, the Court

next turns to whether Kialegee has identified a cause of action and stated a claim upon which

relief can be granted.

       C. Cause of Action

       The Court of Appeals in Trudeau explained that whether Plaintiff states a claim upon

which relief can be granted:

      depends in part on whether there is a cause of action that permits plaintiff to invoke the
      power of the court to redress the violations of law that he claims that FTC has committed.
      See generally Davis v Passman, 442 U.S. 228, 239-40 & n. 18, 999 S. Ct. 2264, 60 L. Ed.
      2d 846 (1979). It also depends on whether the allegations of [plaintiff’s] complaint are
      legally sufficient to state the violations he claims. We consider the cause of action question
      [first] and the sufficiency of [plaintiff’s] claims [next].




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    Trudeau, 456 F. 3d at 188. 8

          As a preliminary matter, Federal Defendants assert that Plaintiff’s seeming reliance on

either 28 U.S.C. Section 1331 or Section 1362 as a cause of action is misplaced. See Fed. Defs.’

Mem. at 15-16; see also McGuirl v. United States, 360 F. Supp. 2d 129, 131 (D.D.C. 2004)

(“[S]ection 1331 requires that the plaintiff[ ] allege another basis for jurisdiction in addition to

section 1331, i.e., a cause of action created by a substantive federal statute.”), aff’d per curiam,

167 Fed. App’x 808 (D.C. Cir. 2005); Little River Band of Ottawa Indians v. Nat’l Labor Relations

Bd., 747 F. Supp. 2d 872, 883 (W.D. Mich. 2010) ( noting that “invoking § 1362 does not change

a plaintiff-tribe’s duty to show that its complaint raises a substantial federal question”).

          Furthermore, Federal Defendants dispute Plaintiff’s presumed reliance on the Creek Nation

treaties as a cause of action, on grounds that Plaintiff makes no attempt to show whether such

treaties provide it with a private right of action. See McKesson Corp. v. Islamic Republic of Iran,

539 F.3d 485, 489 (D.C. Cir. 2008) (Treaties, “even those directly benefiting private persons,

generally do not create private rights or provide for a private cause of action in domestic courts.”)

          Plaintiff affirmatively states that its cause of action is not based upon the Administrative

    Procedure Act. Pl.’s Opp’n at 15. Plaintiff relies instead upon the Indian Reorganization Act,

    28 U.S.C. Section 5123, and asserts that, under that Act, “Kialegee specifically has a cause of

    action against the government of the United States if it enhances, or diminishes the privileges and

    immunities available to an Indian tribe relative to other federally recognized tribes.” Pl.’s Opp’n

    at 17. Pursuant to Section 5123(f),

          Departments or agencies of the United States shall not promulgate any regulation or
          make any decision or determination pursuant to the Act of June 18, 1934 . . ., or any other
          Act of Congress, with respect to a federally recognized Indian tribe that classifies,

8
 Ultimately, the Court of Appeals affirmed the judgment of the district court dismissing
plaintiff’s complaint for failure to state a claim upon which relief could be granted.
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       enhances, or diminishes the privileges and immunities available to the Indian tribe
       relative to other federally recognized tribes by virtue of their status as Indian tribes.

25 U.S.C. Section 5123(f).

       Federal Defendants acknowledge that “detailed factual allegations” are not necessary to

withstand a 12(b)(6) motion, Twombly, 550 U.S. at 555, but assert that Plaintiff must set forth

“factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Iqbal, 556 U.S. at 678 (citations omitted). Plaintiff contends that

Kialegee “has set forth the actions of Defendants, explained why it violates that law and how this

has deprived and harmed Kialegee — that is, Defendants expressly refuse to acknowledge that

Kialegee has jurisdiction over its lands as a successor to the historic Creek Nation.” Pl.’s Opp’n

at 18-19. Plaintiff argues further that it “need not plead this with specificity, as under Rule 9(b),

rather, Kialegee’s Amended Complaint need only comport with the notice-pleading requirements

of Rule 8” and it has done this by putting “Defendants on notice of what Kialegee alleges to be

wrong and its recourse sought for the same[,]” in part by referencing a letter in which the rights of

other Creek successors are acknowledged, where such letter includes “findings from Defendant

the Department of Interior.” 9 Pl.’s Opp’n at 19.

       Plaintiff indicates that it has constructed a restaurant facility known as the Embers Grill,

which is located on an Indian allotment within the Creek Reservation and within the city limits of

Broken Arrow, Oklahoma, and Plaintiff claims jurisdiction over this land, in common with the




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  Attached as Exhibit E to the Amended Complaint, ECF No. 27-1, is a lengthy letter from the
Chairman of the National Indian Gaming Commission to the Tribal Chairman of the Poarch
Band of Creek Indians. The letter begins by indicating that a review has been conducted and the
NIGC “continue[s] to consider the Tribe’s Tallapoosa site to be Indian lands on which the Tribe
may conduct gaming.” Ex. E at 1. This letter is discussed in detail in Paragraph 60 of the
Amended Complaint, but the Court notes that when Plaintiff amended its Complaint in this case,
it no longer named The Chairman of the National Indian Gaming Commission as a defendant.
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other recognized Creek tribes in Oklahoma and pursuant to “various Creek Treaties with the

United States read in context with the Indian Canon of Construction.” Am. Compl. ¶¶ 56-57.

Plaintiff asserts also that “Defendants have repeatedly violated 25 U.S.C. Section [5123](f) by

blocking the Kialegee from jurisdiction on lands located within the Creek Reservation,” but this

general assertion fails to state a claim that supports Plaintiff’s request for declaratory and

injunctive relief. What is missing from the Amended Complaint is any connection between

Plaintiff’s claim to jurisdiction over the land where the restaurant facility is located, and any

actions taken by Defendant in response to such claim of jurisdiction, which violate Section 5123,

or alternatively, any other actions taken by the Defendant that violate Section 5123, which are

actionable by the Plaintiff. More succinctly, Plaintiff’s Amended Complaint fails to provide this

Court with any information about how and when the Defendants have “block[ed] the Kialegee

from jurisdiction” over land with the effect that the Kialegee’s privileges and immunities have

been diminished relative to other federally recognized tribes. Plaintiff’s allegations against

Defendants — presumably relating to its cause of action pursuant to 25 U.S.C. Section 5123 —

are fleshed out in somewhat more detail in the context of the briefing on Defendants’ Motion to

Dismiss.

       In its Opposition, Plaintiff refers to three specific instances where Defendants have failed

to recognize Kialegee as a Creek successor having jurisdiction over its lands: (1) a pending appeal

before the Indian Board of Indian Appeals (“IBIA”) of an April 26, 2017 decision by the Bureau

of Indian Affairs, Eastern Oklahoma Regional Director, declining to approve a resolution of the

Kialegee Tribal Town Business Committee on grounds that Kialegee lacks jurisdiction over any

area of Indian Country over which it could enact and apply a liquor ordinance; (2) a 1991 IBIA

decision captioned Kialegee Tribal Town of Oklahoma v. Muskogee Area Dir., Bureau of Indian



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Affairs, 19 IBIA 296, 303 (1991), upholding a decision by the Regional Director that Plaintiff did

not exercise jurisdiction over the Muscogee (Creek) Nation lands; and (3) a May 24, 2012

Memorandum regarding review by the National Indian Gaming Commission (“NIGC”) of a

proposed gaming facility in Broken Arrow, Oklahoma (the “proposed Site”), which concludes that

the facility “does not qualify as Kialegee’s Indian lands eligible for gaming because Kialegee has

not established that it has legal jurisdiction over the Proposed Site for purposes of [the Indian

Gaming Regulatory Act],” and expressly stating that “the Department of the Interior (DOI), Office

of the Solicitor, concurs with this opinion.” 10 See Pl.’s Opp’n at 19-21; see also May 24, 2012

Memorandum.

       In their Reply, Defendants explain why none of these three instances is currently actionable

by the Plaintiff, for the following reasons: (1) the Regional Director’s April 26, 2017 decision is

on appeal before the IBIA, and Plaintiff must exhaust its administrative remedies before seeking a

judicial review of that decision; 11 (2) any challenge to the 1991 decision is untimely because,

pursuant to 28 U.S.C. Section 2401(a), a civil action against the United States is barred if not filed

within six years after the right of action accrues; and (3) the May 24, 2012 Memorandum is not an

agency action for which Plaintiff may seek judicial review as it does not constitute a “final agency

action” pursuant to 25 U.S.C. Section 2714, nor has Plaintiff demonstrated how the 2012

Memorandum “violates the IRA in any way.” See Fed. Defs.’ Reply at 5-7.

       This Court agrees with the Federal Defendants’ analysis of these three “instances,” and as




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   Plaintiff indicates that this Memorandum is part of the public record and provides a website
address for the NIGC website, which contains the May 24, 2012 Memorandum. Pl.’s Opp’n at
21, n. 9.
11
   Federal Defendants indicate that “[i]t may be that in the future, after the IBIA issues its final
decision on Plaintiff’s challenge to the Regional Director’s April 26, 2017 decision, Plaintiff will
have an action for which it may want to seek judicial review[.]” Fed. Defs’ Reply at 8.
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such, finds that while the Plaintiff has alleged that it has a cause of action pursuant to 28 U.S.C.

Section 5123, Plaintiff has not indicated any conduct by Federal Defendants that is actionable

under this cause of action. A claim is facially plausible when the plaintiff pleads factual content

that is more than “’merely consistent with’ a defendant’s liability,” which “allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556

U.S. at 678 (citing Twombly, 550 U.S. at 556-57, 127 S. Ct. 1955); see also Rudder v. Williams,

666 F.3d 790, 794 (D.C. Cir. 2012) (same). In the instant case, Plaintiff alleged initially a more

specific claim against the Federal Defendants (and then-defendant NIGC), based on the

development of the Bruner allotment and its jurisdiction over that land, but because that claim was

not yet ripe, Plaintiff amended its Complaint, with the effect that its claim against the Federal

Defendants was made more general. It is not enough for Plaintiff to simply claim that a statute

has been violated, which affects Plaintiff in a negative way, and to make conclusory statements

regarding Federal Defendants’ position. Instead, Plaintiff needs to allege with some specificity

the actions allegedly taken by Federal Defendants, which give rise to Plaintiff’s cause of action.

Accordingly, because this Court finds that Plaintiff fails to state a claim, its Amended Complaint

shall be dismissed without prejudice



 DATED: September 7, 2018
                                              ________/s/______________________
                                              COLLEEN KOLLAR-KOTELLY
                                              UNITED STATES DISTRICT JUDGE




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                   Exhibit G
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